                           Case:
      Hearing Date: No hearing     1:24-cv-10682 Document #: 1-3 Filed: 10/17/24 Page 1 of 1 PageID #:46
                               scheduled
      Location: <<CourtRoomNumber>>
      Judge: Calendar, 4
                                                                                                                                                                          FILED
                                                                                                                                                                          10/16/2024 5:13 PM
                                                                                                                                                                          IRIS Y. MARTINEZ
                                                                                                                                                                          CIRCUIT CLERK
                                                                                                                                                                          COOK COUNTY, IL
FILED DATE: 10/16/2024 5:13 PM 2024CH09499




                                                                                                                                                                          2024CH09499
                                                                                                                                                                          Calendar, 4
                                                                                                                                                                          29810191
                                             Appearance and Jury Demand *                                                                                                    (09/01/21) CCG 0009
                                                                                     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                                     CHANCERY
                                                                                     ____________________                  [[[[[[[[
                                                                                                          DEPARTMENT/_____ DISTRICT


                                             Markel American Insurance Company                                         Case No.      2024CH09499
                                                                                                                                     ________________
                                                                                                           Plaintiff
                                                                                v.                                     [[[[[[[[
                                                                                                                       Claimed $: _______________
                                              6DQIRUG6FKPLGW6FKPLGW$GYLVRU\6HUYLFHV,QFGED&DWDO\VW
                                              :HDOWK0DQDJPHQW6FKPLGW)LQDQFLDO*URXS//&&KULVWRSKHU              [[[[[[[[[
                                                                                                                       Return                   [[[[ __________
                                                                                                                              Date: ___________ Time:
                                              /RUHQ]HQ&%/,QYHVWPHQWV//&'LDQH)RZOHU
                                              DQG-DPHV30XUDII                                    Defendant         [[[[[[[[[
                                                                                                                       Court                   [[[[[[[
                                                                                                                             Date: ___________ Room No.:                     _____________


                                                                                                                                          [[[[[[[[[[[[[[[[[[[[[[[[[
                                                                                                                                          Address of Court District for Filing
                                                                                               APPEARANCE AND    [[[[[[[[[[[[[[[[[[
                                                                                                                       JURY DEMAND *
                                             ✔    General Appearance                 0900 - Fee Paid                                                              0904 - Fee Waived
                                                                                     0908 - Trial Lawyers Appearance - No Fee                                     Twelve-person Jury
                                                  Jury Demand *                      1900 - Appearance and Jury Demand/Fee Paid                                   Six-person Jury
                                                                                     1904 - Appearance and Jury Demand/No Fee Paid
                                             The undersigned enters the appearance of:         Plaintiff      Defendant
                                                              Markel American Insurance Company
                                             Litigant’s Name: ______________________________________
                                                            Joseph J. Borders
                                             Signature: /s/ ___________________________________________
                                                  Initial Counsel of Record              2810 Rule 707 Out-of-State Counsel
                                                                                           (pro hac vice)
                                             ✔    Additional Appearance                  Substitute Appearance

                                                            40919
                                                 Atty. No.: ___________________                                                                       IMPORTANT
                                                                                                                        2QFHWKLV$SSHDUDQFHIRUPLVÀOHGSKRWRFRSLHVRI WKLVIRUPPXVWEHVHQWWR
                                             Name: Joseph J. Borders / McJessy Ching & Thompson LLC
                                                                                                                        DOORWKHUSDUWLHVQDPHGLQWKLVFDVH RUWRWKHLUDWWRUQH\V XVLQJHLWKHUUHJXODU
                                             Atty. for (if applicable):
                                                                                                                        PDLOID[HPDLORUSHUVRQDOGHOLYHU\ 6HH,OOLQRLV6XSUHPH&RXUW5XOHV
                                             Plaintiff                                                                  DQGIRUPRUHLQIRUPDWLRQ

                                             Address: 3759 N. Ravenswood Ave., Suite 231

                                             City: Chicago
                                                     IL Zip: ________
                                             State: ____     60613           (630) 624-6776
                                                                      Phone: _____________________

                                             Primary Email: borders@MCandT.com
                                             * Strike demand for trial by jury if not applicable.
                                             I certify that a copy of the within instrument was served on all parties who have appeared and have not heretofore been found by the
                                             Court to be in default for failure to plead.
                                                                                                                                        Joseph J. Borders
                                                                                                                                   /s/ ______________________________________
                                                                                                                                          Attorney for      Plaintiff     Defendant
                                                                          Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                               cookcountyclerkofcourt.org
                                                                                                                Page 1 of 1
